                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION

                                           :
 SECURITIES AND EXCHANGE                   :
 COMMISSION,                               :
                                           :
                                Plaintiff, :                Civil Action No. 3:13-cv-447
                     v.                    :
                                           :
                                           :
 BANK OF AMERICA, N.A., BANC OF            :
 AMERICA MORTGAGE SECURITIES, INC., :
 and MERRILL LYNCH, PIERCE, FENNER & :
 SMITH INC. f/k/a BANC OF AMERICA          :
 SECURITIES LLC,                           :
                                           :
                              Defendants. :
                                           :
                                           :

                  FINAL JUDGMENT AS TO BANK OF AMERICA, N.A.

       The Securities and Exchange Commission having filed a Complaint and Defendant Bank

of America, N.A. having entered a general appearance; consented to the Court’s jurisdiction over

Defendant and the subject matter of this action; consented to entry of this Final Judgment;

without admitting or denying the allegations of the Complaint (except as to jurisdiction); waived

findings of fact and conclusions of law; and waived any right to appeal from this Final Judgment:

                                                I.

       IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant and

Defendant’s agents, servants, employees, attorneys, and all persons in active concert or

participation with them who receive actual notice of this Final Judgment by personal service or

otherwise are permanently restrained and enjoined from violating Section 17(a)(2) and (a)(3) of

the Securities Act of 1933 (the “Securities Act”) [15 U.S.C. §§ 77q(a)(2) & (a)(3)] in the offer or




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sale of any security by the use of any means or instruments of transportation or communication

in interstate commerce or by use of the mails, directly or indirectly:

       (a)     to obtain money or property by means of any untrue statement of a material fact

               or any omission of a material fact necessary in order to make the statements

               made, in light of the circumstances under which they were made, not misleading;

               or

       (b)     to engage in any transaction, practice, or course of business which operates or

               would operate as a fraud or deceit upon the purchaser.

                                                 II.

       IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant

is jointly and severally liable together with defendants Banc of America Mortgage Securities,

Inc. and Merrill Lynch, Pierce, Fenner & Smith Inc. f/k/a Banc of America Securities LLC, for

disgorgement of $109,220,000, representing profits gained as a result of the conduct alleged in

the Complaint, together with prejudgment interest thereon in the amount of $6,620,000, and a

civil penalty in the amount of $109,220,000 pursuant to Section 20(d) of the Securities Act [15

U.S.C. § 77t(d)]. Defendant’s foregoing obligations for disgorgement, prejudgment interest, and

a civil penalty shall be deemed satisfied in full by the payment of Bank of America Corp. to the

United States Department of Justice in accordance with the terms of the agreement dated August

20, 2014 among Bank of America Corp., the United States Department of Justice, and certain

States. By making this payment, Defendant relinquishes all legal and equitable right, title, and

interest in such funds and no part of the funds shall be returned to Defendant.




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        The Commission shall hold the funds, together with any interest and income earned

thereon (collectively, the “Fund”), pending further order of the Court. The Commission may

propose a plan to distribute the Fund subject to the Court’s approval. Such a plan may provide

that the Fund shall be distributed pursuant to the Fair Fund provisions of Section 308(a) of the

Sarbanes-Oxley Act of 2002. The Court shall retain jurisdiction over the administration of any

distribution of the Fund. If the Commission staff determines that the Fund will not be

distributed, the Commission shall send the funds paid pursuant to this Final Judgment to the

United States Treasury.

        Regardless of whether any such Fair Fund distribution is made, amounts ordered to be

paid as civil penalties pursuant to this Judgment shall be treated as penalties paid to the

government for all purposes, including all tax purposes. To preserve the deterrent effect of the

civil penalty, Defendant shall not, after offset or reduction of any award of compensatory

damages in any Related Investor Action based on Defendant’s payment of disgorgement in this

action, argue that it is entitled to, nor shall it further benefit by, offset or reduction of such

compensatory damages award by the amount of any part of Defendant’s payment of a civil

penalty in this action (“Penalty Offset”). If the court in any Related Investor Action grants such

a Penalty Offset, Defendant shall, within 30 days after entry of a final order granting the Penalty

Offset, notify the Commission’s counsel in this action and pay the amount of the Penalty Offset

to the United States Treasury or to a Fair Fund, as the Commission directs. Such a payment shall

not be deemed an additional civil penalty and shall not be deemed to change the amount of the

civil penalty imposed in this Judgment. For purposes of this paragraph, a “Related Investor

Action” means a private damages action brought against Defendant by or on behalf of one or

more investors based on substantially the same facts as alleged in the Complaint in this action.

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                                                     III.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this Court shall retain

jurisdiction of this matter for the purposes of enforcing the terms of this Final Judgment.



 Signed: November 25, 2014




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